wo fe 1 DB A F&F W YP Fr

yO NNO VP BP PO PO BD BD BR RR Re Re ee ee el
oo yD DO Ww BP WH NY FF CO CO Re HSH DO AH BSP WD NYO KS OC

Case 4:24-cr-05616-RM-JR Document 62

TIMOTHY COURCHAINE
United States Attorney

District of Arizona

JULIE A. SOTTOSANTI
ADAM D. ROSSI

Assistant U.S. Attorneys

United States Courthouse

405 W. Congress Street, Suite 4800
Tucson, Arizona 85701
Telephone: 520-620-7300
Email: julie.sottosanti@usdoj.gov
Email: adam.rossi2@usdoj.gov
Attomeys for Plaintiff

Filed 03/12/25 Page1of12

CR-24-05616-TUC-RM(JR)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No.
Plaintiff,
FIRST SUPERSEDING
vs. INDICTMENT
VIO: 18U.S.C. § 933(a)(3) & (b)

Francisco Duray Bell, -001,
Counts 1-15,

Ismael Higuera-Avalos, -002,
Counts 1-3, 16-28

Ezekqio Chavez, -003,
Counts 1-3

Carlos Martinez, -004
Counts 1-3

Brian Mendez Sotelo, -005
Counts 1-3

Anthony Tomas Avalos, -006
Counts 1-3

Marcus Morin, -007
Counts 1-3, 29-35

Defendants.

THE GRAND JURY CHARGES:

—

a
Trafficking in Firearms
ount |

18 U.S.C. § 554(a)

(Conspiracy to Smuggle Goods from
the United States)

Count 2

18 U.S.C. § 924(k)(2)(B)

(Conspitac to Smuggle Firearms
ut of the United States)

Count 3

18 U.S.C. §§ 922(a)(6) and
ree)
(Material False Statement

During the Purchase of a Firearm)
Counts 4-35

18 U.S.C. §§ 924(d) and
934 a hen;
5 Use ; 48 LOCI LYB)
(Forfeiture Allegation)

oOo fo 1 HH FP WY LY Fe

NY NYO NYO NY HN KN DN DD RR RR ee ee ee
So ~s HO OF SBP WwW NHN KF CO CO Se ST HR AH BP WY HY KE OS

Case 4:24-cr-05616-RM-JR Document 62 Filed 03/12/25 Page 2 of 12

COUNT 1

On or about a date unknown through February 7, 2025, in the District of Arizona,
Defendants FRANCISCO DURAY BELL, ISMAEL HIGUERA-AVALOS, EZEKQIO
CHAVEZ, CARLOS MARTINEZ, BRIAN MENDEZ SOTELO, ANTHONY TOMAS
AVALOS and MARCUS MORIN did receive, attempt to receive, and conspire to receive
from another person, in or otherwise affecting interstate or foreign commerce, firearms,
knowing or having reasonable cause to believe that such receipt would constitute a felony,
to wit: 18 U.S.C. § 554(a), 18 U.S.C. § 924(k)(2)(B), Ariz. Rev. Stat. § 13-3102.

All in violation of Title 18, United States Code, Section 933(a)(3) and (b).

COUNT 2

On or about a date unknown through February 7, 2025, in the District of Arizona,
Defendants FRANCISCO DURAY BELL, ISMAEL HIGUERA-AVALOS, EZEKQIO
CHAVEZ, CARLOS MARTINEZ, BRIAN MENDEZ SOTELO, ANTHONY TOMAS
AVALOS and MARCUS MORIN knowingly conspired and attempted to export and send
from the United States any merchandise, article, or object contrary to any law or regulation
of the United States, and received, concealed, bought, sold, and in any manner facilitated
the transportation, concealment, and sale of such merchandise, article or object, that is:
firearms, knowing the same to be intended for exportation contrary to any law or regulation
of the United States, to wit: Title 50, United States Code, Section 4819; Title 15, Code of
Federal Regulations, Part 736.2; Title 15, Code of Federal Regulations, Part 774; and Title
15, Code of Federal Regulations, Part 738.

In violation of Title 18, United States Code, Section 554(a).

COUNT 3

On or about a date unknown through February 7, 2025, in the District of Arizona,
Defendants FRANCISCO BELL, ISMAEL HIGUERA-A VALOS, EZEK QIO CHA VEZ,
CARLOS MARTINEZ, BRIAN MENDEZ SOTELO, ANTHONY TOMAS AVALOS,
and MARCUS MORIN did knowingly conspire to smuggle or take out of the United States

firearms with intent to engage in or to promote conduct that constitutes a felony, to wit:

United States of America v. Francisco Duray Bell, et al.
Indictment Page 2 of 12

Oo wo tn DH OH FF WY YP KF

Ny PO BH KH WN WN NN DN POR RR Re ee RR RE UL
So SY KN wn BSB BHO NN YF CO ODO OwOOU STOO PUL ULE LCLU

Case 4:24-cr-05616-RM-JR Document 62_ Filed 03/12/25 Page 3 of 12

Title 18, United States Code, Sections 554(a) and 2, Smuggling of Goods from the United
States, aiding and abetting.
In violation of Title 18, United States Code, Section 924(k)(2)(B).
COUNTS 4-15
On or about the dates listed below, in the District of Arizona, the defendant,
FRANCISCO DURAY BELL, in connection with the acquisition of firearms, knowingly

made false statements and representations to the businesses listed below, which were
intended and likely to deceive the business as to a fact material to the lawfulness of a sale
of a firearm by the business, each of which was licensed under the provisions of Chapter
44 of Title 18, United States Code, with respect to information required by the provisions
of Chapter 44 of Title 18, United States Code, to be kept in the records of each business
listed below, in that the defendant, in connection with the purchase of each of the firearms
below, stated that he was the actual transferee/buyer of the firearm, whereas in truth and

fact, he was knowingly acquiring the firearm on behalf of another individual:

Count | Date FFL Firearms
4 06/12/2024 | Glockmeister Glock G20 G4
5 06/13/2024 | Glockmeister Glock G27 pistol
Glockmeister One (1) Glock G22O0D pistol, and one (1)
6 06/28/2024 Glock G29SF pistol
Glockmeister One (1) Glock G29 Gen4, 9mm caliber,
pistol and one (1) Glock G19 G5 10mm
7 07/11/2024 pistol
S2 Armament Two (2) Century Arms, model VSKA,
8 07/30/2024 7.62x39mm caliber rifles
Virtus Armament Two (2) Pioneer Arms, model sporter,
7.62x39mm caliber rifles and one (1)
Century Arms, model VSKA, 7.62x39mm
9 08/03/2024 caliber rifle

United States of America v. Francisco Duray Bell, et al.
Indictment Page 3 of 12

Oo fe TD DH A FP W YP KF

oO bo NM NY HN DP DYN KD DR RR Ry RPO RP RE Se
o sa ON ON BF Bw UN lULre S| hlCOUlClCCCOUOClWwlUUAS OUND DOW ee aD Gl Ll Cl

Case 4:24-cr-05616-RM-JR Document 62

Filed 03/12/25 Page 4of12

Baseline Pawn

10 08/03/2024

Two (2) Century Arms, model VSKA,
7.62x39mm caliber rifles

Phoenix Gun Co.

Ly 08/03/2024

Five (5) Century Arms, model VSKA,
7.62x39mm caliber rifle, serial numbers

$V7151295, SV7151316 and SV7151542

Phoenix Gun Co.

12 08/03/2024

Three (3) Century Arms, model VSKA,
7.62x39mm caliber rifle, serial numbers

SV7151586, SV7151576 and SV7151655

13 08/04/2024 | Arizona State Armory

Three (3) Century Arms, model VSKA,
7.62x39mm caliber rifles, serial numbers

$V7151790, SV151898 and SV7151896

14 08/04/2024 | Armor Bearer Arms

Two (2) Century Arms, model VSKA,
7.62x39mm caliber rifles

Baseline Pawn

15 08/04/2024

Three (3) Century Arms, model VSKA,
7.62x39mm caliber rifle

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).
COUNTS 16-28

On or about the dates listed below, in the District of Arizona, the defendant,

ISMAEL HIGUERA-AVALOS, in connection with the acquisition of firearms, knowingly

made false statements and representations to the businesses listed below, which were

intended and likely to deceive the business as to a fact material to the lawfulness of a sale
of a firearm by the business, each of which was licensed under the provisions of Chapter

44 of Title 18, United States Code, with respect to information required by the provisions

of Chapter 44 of Title 18, United States Code, to be kept in the records of each business

listed below, in that the defendant, in connection with the purchase of each of the firearms

below, stated that he was the actual transferee/buyer of the firearm, whereas in truth and

United States of America v. Francisco Duray Bell, et al.
Indictment Page 4 of 12

fact, he was knowingly acquiring the firearm on behalf of another individual:

oO fe 1D DH UO FP WW NY KE

NO po bp bP NH WN NK WN NO He He FEF FFP re OO Ee Rl
oo yD WB wn F&F W YH KF CC CO BH A DHA FP WwW NY KY OC

Case 4:24-cr-05616-RM-JR Document 62

Filed 03/12/25 Page5of12

Count | Date FFL Firearms
5/24/2024 Baseline Pawn Two (2) Century Arms, model VSKA,
16 7.62x39mm caliber rifles
5/28/2024 Baseline Pawn Two (2) Century Arms, model VSKA,
17 7.62x39mm. caliber rifles
Pioneer Arms AK47 7.62x3939mm caliber
18 06/05/2024 | S2 Armament Sporter rifle
6/27/2024 S2 Armament One (1) Pioneer Arms AK47 7.62x39mm
caliber Sporter rifle, and one (1) Century
Arms, model VSKA, 7.62x39mm caliber
19 rifle
7/9/2024 S52 Armament One (1) Century Arms, model VSKA,
7,62x39mm caliber rifle, and one (1) Pioneer
20 Arms AK47 7.62x39mm Sporter rifle
7/16/2024 S2 Armament Three (3) Century Arms, model VSKA,
21 7.62x39mm caliber rifles
7/31/2024 $2 Armament Two (2) Century Arms, model VSKA,
22 7.62x39mm caliber rifles
8/2/2024 Baseline Pawn Three (3) Century Arms, model VSKA,
23 7.62x39mm caliber rifles
8/3/2024 Armor bearer arms Two (2) Century Arms, model VSKA,
24 7.62x39mm caliber rifles
8/3/2024 Phoenix Gun Co. Three (3) Century Arms, model VSKA,
25 7.62x39mm caliber rifles
8/4/2024 Baseline Pawn Three (3) Century Arms, model VSKA,
26 7,62x39mm caliber rifles

United States of America v. Francisco Duray Bell, et al.
Indictment Page 5 of 12

oOo fo HN DB  F W NY Fr

BO Bb BH BH BH BP BR KN RO RR Re RB Re REO ES El
ao ~st DH UA FB WH NY KF CO ODO eH DH A FSF W NY FY SC

Case 4:24-cr-05616-RM-JR Document 62

Filed 03/12/25 Page 6of12

08/4/2024 Arizona State Armory | Three (3) Century Arms VSKA 7.62 caliber
Zi rifles

08/04/2024 | Virtus Armament One (1) Pioneer Arms Corp. model Hellpup
28 556 NATO rifle

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).
COUNTS 29-35

On or about the dates listed below, in the District of Arizona, the defendant,

MARCUS MORIN, in connection with the acquisition of firearms, knowingly made false
statements and representations to the businesses listed below, which were intended and
likely to deceive the business as to a fact material to the lawfulness of a sale of a firearm
by the business, each of which was licensed under the provisions of Chapter 44 of Title 18,
United States Code, with respect to information required by the provisions of Chapter 44
of Title 18, United States Code, to be kept in the records of each business listed below, in
that the defendant, in connection with the purchase of each of the firearms below, stated
that he was the actual transferee/buyer of the firearm, whereas in truth and fact, he was

knowingly acquiring the firearm on behalf of another individual:

29 10/2/24 Harris Brothers | Three (3) Century
Tactical Arms VSKA 7.62x39

rifles

30 9/3/24 Glockmeister Two (2) Century BFT
Core Rifles
7.62x39mm

31 10/8/24 Glockmeister Two (2) Century
Arms VSKA
7.62x39mm rifles

32 9/3/24 Litchfield Arsenal One (1) Century

United States of America v. Francisco Duray Bell, et al.
Indictment Page 6 of 12

he

Co me tN DH OH FSF WD LH

10

Case 4:24-cr-05616-RM-JR Document62_ Filed 03/12/25 Page 7 of 12

Arms VSKA
7.62x39mm rile

33 10/1/24 Ammo AZ One (1) Century
Arms Micro Draco
7.62x39mm pistol
and two (2) Century
Arms VSKA
7.62x39mm rifles

34 10/8/24 Ammo AZ Two (2) Pioneer
Arms USA Sporter
7.62x39mm rifles
and one (1) Pioneer
Arms Hellpup
7.62x39mm rifle

35 10/10/24 Ammo AZ Three (3) Pioneer
Arms USA  Sporter
7.62x39mm rifles

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).

FORFEITURE ALLEGATION

Upon conviction of Counts One through Thirty-Five of the Indictment, the
defendants, FRANCISCO BELL, ISMAEL HIGUERA-AVALOS, EZEKQIO CHA VEZ,
CARLOS MARTINEZ, BRIAN MENDEZ SOTELO, ANTHONY TOMAS AVALOS
and MARCUS MORIN, shall forfeit to the United States pursuant to Title 18, United States
Code, Section 924(d), and Title 28, United States Code, Section 2461(c), any firearms and

ammunition involved in the commission of the offense, including, but not limited to:

United States of America v. Francisco Duray Bell, et al.
Indictment Page 7 of 12

oOo won HR Wn FP W NY FF

Oo NO PO HN BP BP KV BD RRR RR RO RO EO El
oOo ~~ OKO UN SB OH! UNDUE lCcCOlUlClCUCCOCOClClewOUlDTlClCUCONCUlUU CU Rll ee DN SR lO

Case 4:24-cr-05616-RM-JR Document62- Filed 03/12/25 Page 8 of 12

Firearms

Serial Number(s)

Sixteen (16) Century Arms, model VSKA,
7.62x39mm caliber rifles

SV7151898, SV7148245,
SV7147825, SV7148641,
$V7151790, $V71483 16,
SV7152101, SV7151569,
$V7152169, SV7152048,
SV7148492, SV7151292,
SV7147886, SV7150199,
$V7150572, SV7151896

Pioneer Arms, model HellPup, 5.56 caliber rifle

PAC24PL17852

Six (6) Century Arms, 7.62x39mm caliber rifles

3V7144230, SV7159402,
5V7157736, SV7157964,
BFT47021421, BFT47021450

Glock G20 G4 BYNL146
Glock G27 pistol BZCV693
Glock G220D pistol BY WE506
Glock G29SF pistol BZCX286
Glock G29 Gen4, 9mm caliber, pistol BZSK881

Glock G19 G5 10mm pistol CDDD451

Two (2) Century Arms, model VSKA,
7.62x39mm caliber rifles

$V7149851, $V7149931

Two (2) Pioneer Arms, model  sporter,

7.62x39mm caliber rifles

PAC24PL22852,
PAC24PL23112

Two (2) Century Arms, model VSKA,
7.62x39mm caliber rifle

SV151659, $SV7151537

Two (2) Century Arms, model VSKA,
7.62x39mm caliber rifles

SV7148367, SV7148396

United States of America v. Francisco Duray Bell, et al.
Indictment Page 8 of 12

oOo eo TN DH A FF. WY YP

NO pO NY HN NY WV NY YN DVN RRR HH ee FEF Ee Re
eo sa NHN NH B&B WY NY KF OD DO we aAtn DH FP WY NY KF &

Case 4:24-cr-05616-RM-JR Document 62

Filed 03/12/25

Page 9 of 12

7.62xX39mm caliber rifles

Five (5) Century Arms, model VSKA, | 8V7151295, $V7151316,

7.62x39mm caliber rifle $V7151542, SV7151539,
S8V7151671

Three (3) Century Arms, model VSKA,} 8V7151586, SV7151576,

7.62x39mm caliber rifle $V7151655

Two (2) Century Arms, model VSKA, | 8V7148119, SV7147971

7.62x39mm caliber rifles

Two (2) Century Arms, model VSKA, | SV7148450, 8V7147781

Sporter rifle

Pioneer Arms AK47 7.62x3939mm caliber

PAC24PL20880

Pioneer Arms AK47 7.62x39mm
Sporter rifle

caliber

PAC24PL20805

caliber rifle

Century Arms, model VSKA, 7.62x39mm

5V7150084

caliber rifle

Century Arms, model VSKA, 7.62x39mm

5V7149702

Pioneer Arms AK47 7.62x39mm
Sporter rifle

caliber

PAC24PL20952

Three (3) Century Arms, model
7.62x39mm caliber rifles

VSKA,

$V7150062, SV7149913,
SV7150058

Two (2) Century Arms, model
7.62x39mm caliber rifles

VSKA,

$V7151926, SV7150456

Three (3) Century Arms, model
7.62x39mm caliber rifles

VSKA,

SV7149114, SV7149312,
SV7149293

Two (2) Century Arms, model
7.62x39mm caliber rifles

VSKA,

$V7150390, SV7150512

Indictment Page 9 of 12

United States of America vy. Francisco Duray Bell, et al.

—

Oo ee YAN DH A FSF W WY

10

ress 4:24-cr-05616-RM-JR Document62 Filed 03/12/25 Page 10 of 12

Three (3) Century Arms VSKA 7.62x39 caliber

$V7152665, SV7152594,

rifles SV7152660
Two (2) Century BFT Core 7.62x39mm caliber | BFT47022587, BFT47021327
rifles

Two (2) Century Arms VSKA 7.62x39mm
caliber rifles

$V7154706, $V7152937

Century Arms VSKA 7.62x39mm caliber rifle | SV7150640
Century Arms Micro Draco 7.62x39mm caliber | 24PMD-53438
pistol
Two (2) Century Arms VSKA 7.62x39mm | 8V7153582, SV7153484
caliber rifles
Two (2) Pioneer Arms USA _ Sporter | PAC23PL16225,
7.62x39mm caliber rifles PAC24PL21805
Pioneer Arms Hellpup 7.62x39mm caliber rifle | PAC24PL24951
Three (3) Pioneer Arms USA_ Sporter |} PAC23PL16347,
7.62x39mm caliber rifles PAC23PL16195,
PAC23PL16291
Eight (8) Pioneer Arms 7.62x39mm caliber | PAC24PL22984,
Sporter rifles PAC23PL 16206,
PAC24PL22992,
PAC23PL16162,
PAC24PL22986,
PAC24PL25461,
PAC23PL16213,
PAC24PL22953
Two (2) Pioneer Arms 7.62x39mm caliber | PAC24PL25060,
GROM rifles PAC24PL22096

United States of America v. Francisco Duray Bell, et al.
Indictment Page 10 of 12

—

oOo fe TN DH A FSF W WN

10

@ase 4:24-cr-05616-RM-JR Document62 Filed 03/12/25 Page 11 of 12

Six (6) DPMS Panther Arms 7.62x39mm | AVS4702544, AVS4702571,

caliber Anvil AK47 rifles AVS4702548, AVS4702555,
AVS4703147, AVS4702567

Five (5) Century Arms 7.62x39mm caliber | BFT47023404, BFT47022652,

BFTE47 rifles BFT47011807, BFT47022776,
BFT47022119

Twenty-Eight (28) Century Arms 7.62x39mm | SV7089691, SV7101068,

caliber VSKA rifles $V7101085, SV7152713,

SV7152540, SV7154798,
SV7152506, SV7152924,
SV7152433, SV7152432,
$V7153571, SV7154794,
SV7154808, SV7100927,
$V7152974, SV7153252,
S$V7152711, $V7152487,
$V7145341, $V7100647,
$V7152503, 8V7152504,
SV7145423, SV7154857,
$V7153205, $V7152297,
SV7152532, SV7152587

Upon conviction of Counts One through Two of the Indictment, the defendants,
EZEKQIO CHAVEZ and BRIAN MENDEZ SOTELO, shall forfeit to the United States:
(1) any property constituting, or derived from, any proceeds obtained, directly or indirectly,
as the result of the offense, pursuant to Title 18, United States Code, Section 934(a)(1)(A);
and (2) any property constituting or traceable to the gross proceeds taken, obtained, or
retained, in connection with or as a result of the violation, pursuant to Title 50, United

States Code, Section 4819(d)(1)(B), including, but not limited to: $12,192 in United States

United States of America y. Francisco Duray Bell, et al.
Indictment Page II of 12

Co wo TN DH vA FP WY NY

NO PO PO WN WN WV DN DN DN RRB RR RE RE
o ~ OO nr OB OULU Uhre ES lCOOClUCOCOUUOCMmOUCUMU A OCD Dae LG lk ll

@ase 4:24-cr-05616-RM-JR Document62 Filed 03/12/25 Page 12 of 12

currency and $4,185 in United States currency.

If any of the property described above, as a result of any act or omission of the
defendants: a) cannot be located upon the exercise of due diligence; b) has been transferred
or sold to, or deposited with, a third party; c) has been placed beyond the jurisdiction of
the court; d) has been substantially diminished in value; or e) has been commingled with
other property which cannot be divided without difficulty, it is the intent of the United
States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461(c), to seek forfeiture of any other property of said
defendants up to the value of the above forfeitable property, including, but not limited to,
all property, both real and personal, owned by the defendants.

All pursuant to Title 18, United States Code, Sections 924(d) and 934(a)(1)(A), Title
28, United States Code, Section 246l(c), Title 50, United States Code, Section
4819(d)(1)(B), and Rule 32.2(a), Federal Rules of Criminal Procedure.

A TRUE BILL

Date: August 28, 2024

TIMOTHY COURCHAINE
United States Attorney
District of Arizona

JULIE A. SOTTOSANTI
ADAM D. ROSSI
Assistant U.S. Attorney

United States of America v. Francisco Duray Bell, et al.
Indictment Page 12 of 12

